Case 2:04-cV-02097-SHI\/|-tmp Document 49 Filed 05/13/05 Page 1 of 6 Page|D 30

|N THE UNITED STATES D|STRICT COURT
FOR THE VVESTERN D|STR|CT OF TENNESSEE §§ l

WESTERN DlV|SION

 

 

UN|TED STATES OF A|VlER|CA,

F’Iaintiff7

vs. Civi| No. 04-2097-Ma-P

TWo Hundred Eighty-Six Thousand Four
Hundred Forty Doi|ars ($286,440.00) in
United States Currency,

Nine (9) Assorted Conveyances, with Ai|
Appurtenances and Attaohrnents Thereon,

iV|isce||aneous Computer Equipment,
Assorted Jewe|ry,

Defendants.

 

CONSENT ORDER

 

Pursuant to the consent and agreement ofthe parties hereto, by and through
their respective attorneys, and as evidenced by the Stipu|ated Sett|ement
Agreement of the parties in the above-styled case and the negotiated plea
agreement entered docket no. 92-20132-B and 03-20169-B, it is hereby ORDERED,

ADJUDGED, AND DECREED that

Th!s document entered on the docket shea m a a
with Ruie 58 andlor 79(a) FRCP on » g

Case 2:04-cv-O2097-SHi\/|-tmp Document 49 Filed 05/13/05 Page 2 of 6 Page|D 31

1. The following property shall be forfeited to the United States to be

disposed of in accordance with iaw:

a. The following vehicles:

1) One 1968 Chevro|et impala automobile bearing vehicle
identification number 1648785256691, with all
appurtenances and attachments thereon;

2) one 2001 Chrysier Prow|er automobile bearing vehicle
identification number 1CEVV65681V702458; and,

3) a 1994 Crow|in boat (hu|l no. JTC16323K394) and
Prestige trailer (seria| no. 1PQBT222XRC208173).

b. The following jewelry seized by law enforcement agents on
September 30, 2003, from premises and/or vehicles
associated With Lermedeyo lVia|one;

1) One men’s Ro|ex President With pave diamond dial
round diamond beze| (38 diamonds), model #18239;

2) One men’s bracelet With 219 princess diamonds and
146 brilliant diamonds, white mount ;

3) One men’s chain with 174 brilliant diamondsr stones set
in white link chain With matching bracelet;

4) One men’s cross pendant With 104 tapered diamonds
and seven brilliant diamondsl white mount;

5) One men’s ring with 85 princess diamonds, white
mount;

8) One men’s bracelet with 828 brilliant diamonds and 108
princess diamonds, White mount;

7) One men’s bracelet With 94 brilliant diamondsl stones
set in white mounting;

8) One men’s ring With 28 princess cut diamonds and 20
brilliant cut diamondsl white mount;

Case 2:04-cv-O2097-SHi\/|-tmp Document 49 Filed 05/13/05 Page 3 of 6 Page|D 32

9) One men’s initial pendant with 78 princess cut
diamonds, 135 brilliant diamonds, and 12 brilliant
diamonds, initial “L”;

10) One men’s fancy link neck|ace measuring 6mm wide
and 26" in |ength',

11) One men’s fancy link bracelet measuring 6mm Wide
and 8" in iength;

12) One men’s fancy link bracelet measuring 6mm wide
and 39“ in |ength;

13) One men’s cross pendant with 126 diamonds accented
with 65 baguette diamonds.

c. The following currency:
1) $25,336.00 in U.S. Currency seized by law enforcement
agents on September 30, 2003, at 5131 BrianNind,
Ar|ington, Tennessee 38002~8955, and
2) $237,060.00 in U.S. Currency seized by law
enforcement agents on September 30, 2003, at 5417
Meadow Cross Drive, l\/lemphis, TN 38141.
2. The following property shall be returned to the claimants:

a. 1 pair of earrings each w/36 princess cut diamonds
stones set in white mounting,

b. 1 men’s ring w/56 princess cut diamonds set in a white
mountingl

c. 1 men’s ring w/44 princess cut diamonds set in white
mounting,

d. 1 pair of stud earrings w/25 princess cut diamonds set in a

White mountingl

e. 1 men’s stainless steel Gucci watch w/si|ver chronograph face,
accented by 206,

f. 1 ladies chain and pendant with cubic zirconium stones

g. 1 ladies anniversary band with three baguette diamondsl

Case 2:04-cv-O2097-SHi\/l-tmp Document 49 Filed 05/13/05 Page 4 of 6 PagelD 33

h. 1 neck|ace with seven round diamonds,

i. 1 ladies ring with three princess diamonds and three brilliant

diamonds,
j. 1 ladies Ro|ex Datejust watch.
3. Plaintiff and claimants shall not be entitled to costs in this matter, and

neither they nor the persons who made the seizure of the defendant property, nor
the prosecutor, shall be liable to suit or judgment on account of the seizure of the

defendant property

4. This action shall be dismissed with prejudice, and each party shall

bear its own attorney’s fees and costs.

5. The C|erk of Court shall enter a judgment incorporating the terms of

this order.

|’“k
|T |S SO ORDERED ON THlS THE {344` DAY OF l ,

2005.
6l//(//»»/i_,`

SAl\/lUEL H. lVlAYS, JR.
United States District Judge

 

Case 2:04-cv-O2097-SHi\/l-tmp Document 49 Filed 05/13/05 Page 5 of 6 PagelD 34

APPROVED AND CONSENTED:

TERRELL . HARR|S

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By: / 1

lQl:rristopher E. Cotten
Assistant United States Attorney

,/A. f 5~_-»'-_.~
Ja Enivin
torney for C|aimants
Lermedyo Ma|one and Jacque|ine l\/laione

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:04-CV-02097 Was distributed by faX, mail, or direct printing on
May ]9, 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

